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 9     MOZILLA FOUNDATION
10

11                         UNITED STATES DISTRICT COURT
12                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14     BRIAN G. HOLTKAMP,                     Case No. 8:24-cv-01285-JWH-
15            Plaintiff,                      ADSx
16           v.                               DEFENDANT MOZILLA
17     MOZILLA FOUNDATION,                    FOUNDATION’S FEDERAL
18
                                              RULE OF CIVIL PROCEDURE
              Defendant.                      7.1 DISCLOSURE STATEMENT
19                                            AND CIVIL LOCAL RULE 7.1-1
20
                                              NOTICE OF INTERESTED
                                              PARTIES
21

22
                                              Complaint filed: June 13, 2024
                                              Judge: Hon. John W. Holcomb
23                                            Magistrate Judge: Hon. Autumn D.
24                                            Spaeth

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        DEFENDANT’S DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
          Case 8:24-cv-01285-JWH-ADS Document 15 Filed 07/23/24 Page 2 of 2 Page ID #:92



      1           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the
      2    undersigned counsel of record for defendant Mozilla Foundation identifies the
      3    following parent companies or publicly held corporations owning 10% or more of
      4    its stock:
      5           • Mozilla Foundation has no parent corporation, and no publicly held
      6                 corporation owns 10% or more of Mozilla Foundation’s stock.
      7           Pursuant to Local Rule 7.1-1, the undersigned counsel of record for
      8    defendant Mozilla Foundation certifies that the following listed parties may have a
      9    pecuniary interest in the outcome of this case. These representations are made to
     10    enable the Court to evaluate possible disqualification or recusal:
     11           • Mozilla Corporation, a wholly owned subsidiary of Mozilla Foundation.
     12           • The Travelers Indemnity Company, an insurance carrier for Defendant
     13                 Mozilla Foundation.
     14
                  Dated: July 23, 2024             Respectfully submitted,
     15
                                                   RIDDER, COSTA & JOHNSTONE, LLP
     16

     17                                                  By: /s/ Chris K. Ridder
                                                         Chris K. Ridder (SBN 218691)
     18
                                                         Benjamin A. Costa (SBN 245953)
     19
                                                         Attorneys for defendant
     20
                                                         Mozilla Foundation.
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             DEFENDANT’S DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
